                                          BILL OF COSTS
                                            EXHIBIT A
 DATE                              CHARGE                                 BILLED
            Deposition Transcripts
9/12/2017   Lisa Hennon - transcript of J. Buschman sentencing        $    105.00
8/10/2018   Esquire - depo of L.B.                                    $    550.69
 9/4/2018   Esquire - depo of Jereome Buschman                        $    301.16
9/26/2018   Esquire - depos of Michael and Shelly Buschman            $    750.58
9/27/2018   Alaris Litigation - depo of Diane Barnes                  $    522.78
9/13/2018   360 Litigation - depo of Robert James                     $    266.19
            Service Fees
9/24/2018   Service of subpoena on Diane Barnes                       $     60.00
            Mediation Fees
6/19/2018   Ford, Parshall & Baker - 1/2 mediation fees               $ 630.00
                                                             TOTAL:   $ 3,186.40




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